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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

HOUSTON DIVISION
§
In re: § Chapter 11
AMERICAN GREEN TECHNOLOGY, INC. Case No. 18-34728
Debtor. ; Jointly Administered
§

 

GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY, AND
DISCLAIMER REGARDING DEBTOR’S SCHEDULES AND STATEMENTS

The Schedules of Assets and Liabilities (collectively with attachments, the “Schedules”) and the
Statements of Financial Affairs (collectively with attachments, the “Statements,” and together
with the Schedules, the “Schedules and Statements”) filed by William R. Greendyke, the chapter
11 trustee (the “Trustee”) for the above-captioned debtor (the “Debtor’’), were prepared pursuant
to section 521 of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 1007 of
the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by management of the
Debtor, with the assistance of the Debtor’s advisors, and are unaudited.

These Global Notes and Statement of Limitations, Methodologies, and Disclaimers Regarding
the Debtor’s Schedules and Statements (the “Global Notes”) are incorporated by reference in,
and comprise an integral part of the Schedules and Statements, and should be referred to and
considered in connection with any review of the Schedules and Statements.

While reasonable efforts have been made to ensure that the Schedules and Statements are as
accurate and complete as possible under the circumstances, based on information that was
available at the time of preparation, the Debtor’s business is complex and inadvertent errors,
inaccuracies, or omissions may have occurred and the Trustee or the Debtor’s management may
discover subsequent information that requires material changes to the Schedules and Statements.
Because the Schedules and Statements contain unaudited information, which is subject to further
review, verification, and potential adjustment, there can be no assurance that the Schedules and
Statements are complete. All claims are subject to further review and the failure to list a claim at
present as unliquidated, contingent, disputed, or subject to setoff, does not mean that such
designation may not change in the future.

The Schedules and Statements have been signed by Danny Bogar, the President and CEO of the
Debtor as of the Petition Date (defined below). Accordingly, in reviewing and signing the
Schedules and Statements, Mr. Bogar necessarily relied upon the efforts, statements, and
representations of the Debtor’s other personnel and advisors. Mr. Bogar has not (and could not
have) personally verified the accuracy of each such statement and representation, including, but
not limited to, statements and representations concerning amounts owed to creditors,
classification of such amounts, and respective creditor addresses.
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The Global Notes supplement and are in addition to any specific notes contained in the
Schedules or Statements.

1. Description of Cases. On August 28, 2018 (the “Petition Date”), an involuntary petition for
chapter 11 relief was filed under chapter 11 of the Bankruptcy Code in the United States
Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”). On October 2,
2018, the Bankruptcy Court entered its Order for Relief In an Involuntary Case (the “Order for
Relief’), granting the involuntary petition. On December 20, 2018, this Court entered its Order
Approving Appointment of Chapter 11 Trustee, appointing William R. Greendyke to serve as the
chapter 11 trustee for the Debtor.

2. “As Of’ Information Date. To the best of the Debtor’s knowledge, the asset information
provided herein, except as expressly noted otherwise, represents the asset data of the Debtor as
of the Petition Date. Amounts ultimately realized may vary from net book value (or whatever
value was ascribed) and such variance may be material. Accordingly, the Trustee reserves all
rights to amend or adjust the value of each asset set forth herein. In addition, the amounts shown
for total liabilities exclude items identified as “unknown,” “disputed,” “contingent,”
“unliquidated,” or “undetermined,” and, thus, ultimate liabilities may differ materially from
those stated in the Schedules and Statements.

3. General Reservation of Rights. Reasonable efforts have been made to prepare and file
complete and accurate Schedules and Statements; however, inadvertent errors or omissions may
exist. The Trustee reserves all rights to amend or supplement the Schedules and Statements from
time to time, in all respects, as may be necessary or appropriate, including the right to amend the
Schedules and Statements with respect to any claim (“Claim”) description or designation; dispute
or otherwise assert offsets or defenses to any Claim reflected in the Schedules and Statements as
to amount, liability, priority, status, or classification; subsequently designate any Claim as
“disputed,” “contingent,” or “unliquidated;” or object to the extent, validity, enforceability,
priority, or avoidability of any Claim. Any failure to designate a Claim in the Schedules and
Statements as “disputed,” “contingent,” or “unliquidated” does not constitute an admission by
the Debtor that such Claim or amount is not “disputed,” “contingent,” or “unliquidated.” Listing
a Claim does not constitute an admission of (a) liability, or (b) amounts due or owed, if any, by
the Debtor against which the Claim is listed or against the Debtor. Furthermore, nothing
contained in the Schedules and Statements shall constitute a waiver of rights with respect to this
chapter 11 case, including issues involving Claims, defenses, equitable subordination, or causes
of action arising under the provisions of chapter 5 of the Bankruptcy Code or any other relevant
nonbankruptcy laws to recover assets or avoid transfers. Any specific reservation of rights
contained elsewhere in the Global Notes does not limit in any respect the general reservation of
rights contained in this paragraph.

4, GAAP. Given the difference between the information requested in the Schedules and
Statements, and the financial information utilized under generally accepted accounting principles
in the United States (“GAAP”) the aggregate asset values and claim amounts set forth in the
Schedules and Statements do not necessarily reflect the amounts that would be set forth in a
balance sheet prepared in accordance with GAAP.
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5. Confidential or Sensitive Information. There may be instances in which certain information
in the Schedules and Statements intentionally has been redacted due to concerns about the
confidential or commercially sensitive nature of certain information or concerns for the privacy
of an individual. The alterations or redactions are limited only to what is necessary to protect the
Debtor or the applicable third-party.

6. Causes of Action. Despite reasonable efforts to identify all known assets, all causes of action
or potential causes of action of the Debtor against third-parties may not be listed as assets in the
Schedules and Statements. The Trustee reserves all rights with respect to any Claims or causes of
action (including avoidance actions), controversy, right of setoff, cross claim, counterclaim, or
recoupment and any claim on contracts or for breaches of duties imposed by law or in equity,
demand, right, action, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment,
account, defense, power, privilege, license, and franchise of any kind or character whatsoever,
known, unknown, fixed or contingent, matured or unmatured, suspected or unsuspected,
liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable directly or
derivatively, whether arising before, on, or after the Petition Date, in contract or in tort, in law or
in equity, or pursuant to any other theory of law (collectively, “Causes of Action”) the Debtor or
Trustee may have, and neither the Global Notes nor the Schedules and Statements shall be
deemed a waiver of any Claims or Causes of Action or in any way prejudice or impair the
assertion of such Claims or Causes of Action.

7, Recharacterization. The Debtor has made reasonable efforts to correctly characterize,
classify, categorize, and designate the Claims, assets, executory contracts, unexpired leases,
interests, and other items reported in the Schedules and Statements. Nevertheless, the Debtor
may not have accurately characterized, classified, categorized, or designated certain items. The
Trustee therefore reserves the right to recharacterize, reclassify, re-categorize, or re-designate
items reported in the Schedules and Statements at a later time as necessary or appropriate.

8. Liabilities. The Debtor has sought to allocate liabilities between the prepetition and
postpetition periods based on the information and research that was conducted in connection
with the preparation of the Schedules and Statements. As additional information becomes
available and further research is conducted, the allocation of liabilities between prepetition and
postpetition periods may change. The Trustee reserves the right to amend the Schedules and
Statements as he deems appropriate in this regard.

9.Excluded Assets and Liabilities. Certain categories of assets and liabilities have been excluded
from the Schedules and Statements. The Debtor also has excluded rejection damage Claims of
counterparties to executory contracts and unexpired leases that may be rejected (if any), to the
extent such damage Claims exist. In addition, certain immaterial or de minimis assets and
liabilities may have been excluded.

10. Property and Equipment. Unless otherwise indicated, owned property (including real
property) and equipment are stated at net book value. The Debtor may lease furniture, fixtures,
and equipment from certain third-party lessors. Any such leases are set forth in the Schedules
and Statements. Nothing in the Schedules and Statements is or shall be construed as an
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admission as to the determination as to the legal status of any lease (including whether any lease
is a true lease or a financing arrangement), and the Trustee reserves all rights with respect
thereto.

Il, Inventory. As referenced above, it would be prohibitively expensive, unduly burdensome,
and time consuming to physically inspect all inventory held by the Debtor. Further, the last
inventory information available to the Debtor was generated in the ordinary course of business
on or about the date of the Order for Relief. Accordingly, to the extent inventory is disclosed,
referenced, and/or described in the Schedules and Statements, such disclosures are based on
information reasonably available to the Debtor as of early October, 2018.

12. Estimates. To prepare and file the Schedules and Statements in accordance with the requests
of the U.S. Trustee, the Debtor was required to make certain estimates and assumptions that
affected the reported amounts of these assets and liabilities. The Trustee reserves all rights to
amend the reported amounts of assets and liabilities to reflect changes in those estimates or
assumptions.

13. Fiscal Year. The Debtor’s fiscal year ends on December 31.
14, Currency. All amounts are reflected in U.S. dollars.

15, Executory Contracts. Although diligent attempts have been made to properly identify the
Debtor counterparty(ies) to each executory contract on Schedule G, it is possible that more
executory contracts than listed on Schedule G. The Trustee reserves all rights with respect to the
named parties of any and all executory contracts, including the right to amend Schedule G. In
addition, although the Debtor made diligent attempts to properly identify executory contracts and
unexpired leases, the inclusion of a contract or lease on Schedule G does not constitute an
admission as to the executory or unexpired nature (or non-executory or expired nature) of the
contract or lease, or an admission as to the existence or validity of any Claims held by the any
counterparty to such contract or lease. Furthermore, while the Debtor made diligent attempts to
properly identify all executory contracts and unexpired leases, inadvertent errors, omissions, or
over inclusion may have occurred.

16. Leases. Future obligations of any capital or operating leases have not been included in the
Schedules and Statements. To the extent that there was an amount outstanding as of the Petition
Date, the creditor has been included on Schedule E/F of the Schedules.

17. Insiders. The Debtor has attempted to include all payments made on or within 12 months
before the Petition Date to any individual or entity deemed an “insider.” An individual or entity
is designated as an “insider” if such individual or entity, based on the totality of the
circumstances, had at least a controlling interest in, or exercises sufficient authority over, the
Debtor so as to unqualifiably dictate corporate policy and the disposition of corporate assets.

The listing of a party as an “insider” is not intended to be nor should be construed as a legal
characterization of such party as an insider and does not act as an admission of any fact, Claim,
right, or defense, and all such rights, Claims, and defenses are hereby expressly reserved.
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18. Totals. All totals that are included in the Schedules and Statements represent totals of all
known amounts included in the Schedules and Statements. To the extent there are unknown,
disputed, contingent, unliquidated, or otherwise undetermined amounts, the actual total may be
different than the listed total.

19. Setoffs. The Debtor may incur certain offsets and other similar rights during the ordinary
course of business. Offsets in the ordinary course can result from various items, including, but
not limited to, intercompany transactions, pricing discrepancies, returns, warranties, and other
disputes between the Debtor and its customers or vendors and setoffs or netting permitted under
common obligations of a single joint operating agreement. These offsets and other similar rights
are consistent with the ordinary course of business and are not tracked separately. Therefore,
although the impact of such offsets and other similar rights may have been accounted for when
certain net amounts were included in the Schedules, offsets are not independently accounted for,
and as such, are not included separately in the Debtor’s Schedules and Statements.

20. Credits and Adjustments. The claims of individual creditors for, among other things, goods,
products, or services are listed as amounts entered on the Debtor’s books and records and may
not reflect credits, allowances or other adjustments due from such creditors to the Debtor. The
Trustee reserve all rights respecting such credits, allowances, and other adjustments.

21. Guaranties and Other Secondary Liability Claims. Reasonable best efforts have been used
to locate and identify guaranties and other secondary liability claims (collectively, the
“Guaranties”) in the Debtor’s executory contracts, unexpired leases, debt instruments, and other
such agreements; however, a review of these agreements, specifically the Debtor’s leases and
contracts, is ongoing.

22, Mechanics Liens. The property and equipment listed in the Schedules are presented without
consideration of any mechanics’, materialman’s or other similar statutory liens. Such liens may
apply, and the Trustee reserves the right to dispute or challenge the validity, perfection, or
immunity from avoidance of any lien purported to be perfected by a creditor.

23. Global Notes Control. \n the event that the Schedules and Statements differ from the Global
Notes, the Global Notes shall control.

Specific Disclosures with Respect to the Debtor’s Schedules

I, Schedule A/B. Real property is reported at book value, net of accumulated depreciation on
buildings and improvements. Certain assets may be listed as real property when such assets are
in fact personal property, or certain assets may be listed as personal property when such assets
are in fact real property. The Trustee reserves all rights to re-categorize or recharacterize such
asset holdings to the extent the Trustee determines that such holdings were listed incorrectly.

The failure to list any rights in real property on Schedule A/B should not be construed as a
waiver of any such rights that may exist, whether known or unknown at this time.
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Despite reasonable best efforts to identify all known assets, all of the Debtor’s Causes of Action
or potential Causes of Action against third parties may not be listed as assets in the Schedules
and Statements. The Trustee reserve all rights with respect to any Causes of Action that the
Debtor may have, and neither these Global Notes nor the Schedules and Statements shall be
deemed a waiver of any such claims, causes of action, or avoidance actions or in any way
prejudice or impair the assertion of such claims.

2. Schedule D. Except as otherwise agreed pursuant to a stipulation, or agreed order, or general
order entered by the Bankruptcy Court that is or becomes final, the Trustee reserves the right to
dispute or challenge the validity, perfection, or immunity from avoidance of any lien purported
to be granted or perfected in any specific asset to a creditor listed on Schedule D. Moreover,
although various creditor claims may be scheduled as secured claims, the Trustee reserves all
rights to dispute or challenge the secured nature of any such creditor’s claim or the
characterization of the structure of any such transaction or any document or instrument related to
such creditor’s claim.

3. Schedule E/F, Part 1: Creditors Holding Priority Unsecured Claims. The listing of any
claim on Schedule E/F does not constitute an admission that such claim is entitled to priority
treatment under section 507 of the Bankruptcy Code. The Trustee reserves all rights to dispute
the amount and the priority status of any claim on any basis at any time.

4.Schedule E/F, Part 2: Creditors Holding Non-Priority Unsecured Claims. Reasonable best
efforts have been used to list all general unsecured claims against the Debtor on Schedule E/F
based upon the Debtor’s existing books and records as of the date of the Order for Relief.

Certain creditors listed on Schedule E/F may owe amounts to the Debtor and, as such, the Debtor
may have valid setoff or recoupment rights with respect to such amounts. The amounts listed on
Schedule E/F do not reflect any such right of setoff or recoupment and the Trustee reserves all
rights to assert any such setoff or recoupment rights. Additionally, certain creditors may assert
mechanics’, materialman’s, or other similar liens against the Debtor for amounts listed on
Schedule E/F. The Trustee reserves the right to dispute or challenge the validity, perfection, or
immunity from avoidance of any lien purported to be perfected by a creditor listed on Schedule
E/F.

Schedule E/F does not include certain deferred credits, deferred charges, deferred liabilities,
accruals, or general reserves. Such amounts are general estimates of liabilities and do not
represent specific claims as of the Petition Date; however, such amounts are reflected on the
Debtor’s books and records as required in accordance with GAAP. Such accruals are general
estimates of liabilities and do not represent specific claims as of the Petition Date.

The claims listed in Schedule E/F arose or were incurred on various dates. In certain instances,
the date on which a claim arose is an open issue of fact. Determining the date upon which each
claim in Schedule E/F was incurred or arose would be unduly burdensome and cost prohibitive
and, therefore, Schedule E/F does not list a date for each listed claim.
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Schedule E/F reflects the prepetition amounts owing to counterparties to executory contracts and
unexpired leases. Such prepetition amounts, however, may be paid in whole or in part in
connection with the assumption, or assumption and assignment, of an executory contract or
unexpired lease. In addition, Schedule E/F does not include rejection damage claims of the
counterparties to the executory contracts and unexpired leases that have been or may be rejected,
to the extent such damage claims exist.

Reasonable efforts have been made to locate and identify guaranties and other secondary liability
claims (collectively, the “Guaranties”) in each of the executory contracts, unexpired leases,
secured financings, debt instruments and other such agreements to which any Debtor is a party.
Where Guaranties have been identified, they have been included in the relevant Schedules. It is
possible that certain Guaranties embedded in the Debtor’s executory contracts, unexpired leases,
secured financings, debt instruments and other such agreements may have been inadvertently
omitted. The Trustee reserves the rights to amend the Schedules to the extent additional
Guaranties are identified or such Guaranties are discovered to have expired or be unenforceable.
Additionally, failure to list any Guaranties in the Schedules and Statements, including in any
future amendments to the Schedules and Statements, shall not affect the enforceability of any
Guaranties not listed.

§5.Schedule G. Certain of the executory contracts and unexpired leases listed on Schedule G may
contain certain renewal options, guarantees of payment, options to purchase, rights of first
refusal, right to lease additional space, and other miscellaneous rights. Such rights, powers,
duties, and obligations are not set forth separately on Schedule G.

The Trustee hereby reserves all rights, claims, and causes of action with respect to the contracts
and agreements listed on Schedule G, including the right to dispute or challenge the
characterization or the structure of any transaction, document, or instrument related to a
creditor’s claim, to dispute the validity, status, or enforceability of any contract, agreement, or
lease set forth in Schedule G, and to amend or supplement Schedule G as necessary. The
inclusion of a contract or lease on Schedule G does not constitute an admission as to the
executory or unexpired nature (or non-executory or expired nature) of the contract or lease, or an
admission as to the existence or validity of any Claims held by the counterparty to such contract
or lease, and the Trustee reserves all rights in that regard, including, without limitation, that any
agreement is not executory, has expired pursuant to its terms, or was terminated prepetition.

In addition, Schedule G does not include rejection damage claims of the counterparties to the
executory contracts and unexpired leases that have been or may be rejected, to the extent such
damage claims exist. :
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Fill in this information to identify the case:

 

rieBREM ERE American Green Technology, Inc.

 

Texas
(State)

United States Bankruptcy Court for the: Southern

18-34728

District of

Case number (If known):

 

Official Form 207

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

C) Check if this is an
amended filing

12/15

 

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write the debtor's name and case number (if known).

1. Gross revenue from business
L) None

Identify the beginning and ending dates of the debtor's fiscal year, which
may be a calendar year

From the beginning of the

fiscal year to filing date: From O1/01/2018 to Filing date
MM/DDIYYYY
For prior year: From 01/01/2017 to 12/31/2017

MM/DD/YYYY MM /DDIYYYY

12/31/2016

For the year before that:
MM /DOD/YYYY

From 01/01/2016 _—tto
MM/DD/YYYY

2. Non-business revenue

Sources of revenue
Check all that apply

Gross revenue
(before deductions and

exclusions)

Operating a business _
CO Biter S__708.365
Operating a business $ 1.910.184
L) other
Operating a business 5 3

2.114 637
O Other

Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

() None

From the beginning of the

fiscal year to filing date: From O1/01/2018 to Filing date
MM/DO/Y¥YYY
For prior year: From 01/01/2017 to 12/31/2017

MM/DD/IYYYY MM/DD/YYYY

For the year before that: From 01/01/2016 to

MM/OO/YYYY

12/31/2016
MM/DDIYYYY

Official Form 207

Description of sources of revenue

oss on Asset Disposal& IntInc §

Gain on Asset Disposal & Int Incg

Loss on sale of asset $

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

Gross revenue from each
source

(before deductions and
exclusions)

2,796

1,137

2,041

page 1
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Debtor American Green Technology, Inc Case number tt known) 18-34728

Name

List Certain Transfers Made Before Filing for Bankruptcy

 

3. Certain payments or transfers to creditors within 90 days before filing this case

List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90
days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,225. (This amount may be
adjusted on 4/01/16 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

 

 

 

 

 

 

 

 

Q) None
: Creditor’s name and address Dates Total amount or value Reasons for payment or transfer
! Check all that apply
! 31.
American Express 7/19-8/10/18 ¢ 8,040.19 C] Secured debt
i Creditor's name QO U a t
Box 0001 nsecured loan repayments
Street Q Suppliers or vendors
Los A | CA | Services
os Angeles, = .
ciy g Sais 20096-8000 Ql other__credit card used for oper costs
3.2.
Allied Benefit Systems U31410/118 $ $18,416.50 CY Secured debt
Creditors name TO
200 W. Adams Street C] Unsecured loan repayments
i Street O Suppliers or vendors
|
: - Cs Semnices
amas i 60606 — (3 Other__Health insurance July-Oct
3.3. Weiser Insurance 830 SW Frwy Houston = 7/2-9/20/18 $6,904.27 x Other: Insurance other than health

Payments or other transfers of property made within 1 year before filing this case that benefited any insider

List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
$6,225. (This amount may be adjusted on 4/01/16 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
Do not include any payments listed in line 3. insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
the debtor. 11 U.S.C. § 101(31).

>

@ None

Insider’s name and address Dates Total amount or value Reasons for payment or transfer
44

 

Insider's name

 

 

 

: Street

 

 

 

City State ZIP Code

 

|
{
| Relatlonship to debtor
I
|

 

Insider's name

 

 

Street

 

 

 

City State ZIP Code

Relationship to debtor

 

Official Form 207 Statement of Financia! Affairs for Non-Individuals Filing for Bankruptcy page 2
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Debtor American Green Technology, Inc Case number (known__18-34728

Name

 

| 6, Repossessions, foreclosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
: sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

None

: Creditor's name and address Description of the property Date Value of property
54

Creditor's name

 

 

Street

 

 

 

City State ZIP Code

Creditors name

 

 

Street

 

 

 

City State ZIP Code

: 6. Setoffs

‘ List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a debt.

 

 

 

 

 

| None
|
| Creditor’s name and address Description of the action creditor took Date action was Amount
taken
|
'
$
Creditor's name
i
Street
Last 4 digits of account number: XXXX~
City State 2!P Code

| Part 3: Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor

 

 

 

 

 

 

 

| was involved in any capacity—within 1 year before fiting this case. no governmental audits. list all collection claims filed against AGT
i
| 1) None
Case title Nature of case Court or agency's name and address Status of case
| 7 merican Express Travel Related ServCo ;
“> v- American Green Technology, Inc _amex delinquent bal: $38.000 _New York County Supreme Court 0 Pending
Name Oo |
Atty: Zwicker & Assoc mapped
Case number Street O) concluded
100 Corporate Woods Suite 230
65294 / 2018 Rochester NY 14623
City State ZiP Code
Case title Court or agency’s name and address D Pendi
; 7a, CH Robinson Freight Services LTD State of Minnesota County of Hennepin enaing
v_American Green Technology Past due $8,433.19 DistrictCourt 4th Judicial District CY on appeal
; Name
Case number Corporate Counsel PA_Tim Fafinski C1 Conciucea

 

Street
3411 Brei Kessel Rd
Independence MN 55359
(see additional page) City State ZIP Code

 

Summons received Case: Pending

 

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|
L

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
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Debtor American Green Technology, Inc Case number (1 known) 18-34728

Name

8. Assignments and receivership

r
|
| List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
| hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

 

 

 

 

 

 

 

 

 

None
Custodian’s name and address Description of the property Value
$
Custodian's name
Case title Court name and address
Street
Name
Case number
i City State ZIP Code Street
{
Date of order or assignment
City State ZIP Code

 

| Part 4: | Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
of the gifts to that recipient is less than $1,000

I
|
|

 

 

 

 

X) None
Recipient’s name and address Description of the gifts or contributions Dates given Value
_ gg
{ a Recipient's name
! Street
|
City State ZIP Code

I
I
| Recipient’s relationship to debtor
I

 

 

 

 

 

 

 

$
; 92. Recipient's name

Street
City State ZIP Code
: Recipient's relationship to debtor
{
i
|
ar Certain Losses
| 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
I
i (None
Description of the property lost and how the loss Amount of payments received for the loss Date of loss Value of property
occurred If you have received payments to cover the loss, for lost
| example, from insurance, government compensation, or
i tort tiabitity, list the total received.
| List unpaid claims on Official Form 106A/B (Schedule A/B:
| Assets - Real and Personal! Property).

$

 

 

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Debtor American Green Technology, Inc Case number qt known) 48-34798

Name

Certain Payments or Transfers

| 11. Payments related to bankruptcy
|

 

List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
seeking bankruptcy relief, or filing a bankruptcy case.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Email or website address

| QO) None
Who was paid or who received the transfer? If not money, describe any property transferred Dates Total amount or
value
i
: Hoffman & Saweris
1 Address
2777
Street .
| Allen Parkway, Suite 100
Houston Texas 77019
: City State ZIP Code
t
, Email or website address
Who made the payment, if not debtor?
i Who was pald or who received the transfer? if not money, describe any property transferred Dates Total amount or
| value
14.2, — §
Address
Street
|
City State ZIP Code
i
1

 

Who made the payment, if not debtor?

 

12. Self-settled trusts of which the debtor is a beneficiary

List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
a self-settted trust or similar device,
Do not include transfers already listed on this statement.

 

 

 

(3 None

| Name of trust or device Describe any property transferred Dates transfers Total amount or
{ were made value

|

i $

Trustee

bee

Official Form 207 Statement of Financial Affairs for Non-individuals Filing for Bankruptcy page 5
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Debtor

Name

|
1
'
I!
1

American Green Technology, Inc

13. Transfers not already listed on this statement

Case number if known),

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List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor

i within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
: Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

@ None

| Who received transfer?

Description of property transferred or payments received Date transfer

 

 

 

 

 

 

 

 

 

 

 

 

 

Total amount or

 

 

 

 

 

 

 

or debts paid in exchange was made value

£43.41. $
Address
: Street

City State ZIP Code

Relationship to debtor
| Who received transfer?
$
|
132
| Address
I
j Street

City State ZIP Cade

Relationship to debtor
Previous Locations
!
| 14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
| Does not apply
: Address Dates of occupancy
1 444 From To
: Street
'
City State ZIP Code
i 44.2. From To
Street
City Stale ZIP Code
Loo ee ee wee a ees - - : ae * wee eee ee a ee ee
Official Form 207 Statement of Financial Affairs for Non-Individuats Filing for Bankruptcy page 6

 

 
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American Green Technology. Inc

Name

Debtor Case number (if known),

Health Care Bankruptcies

i 15. Health Care bankruptcies

: Is the debtor primarily engaged in offering services and facilities for:

— diagnosing or treating injury, deformity, or disease, or

— providing any surgical, psychiatric, drug treatment, or obstetric care?

(4 No. Go to Part 9.
Cl Yes. Fill in the information below.

Nature of the business operation, including type of services the
debtor provides

Facility name and address

15.1

18-3472R

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If debtor provides meals
and housing, number of
patients in debtor's care

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Facility name

Street Location where patient records are maintained (if different from facility How are records kept?
address). If electronic, identify any service provider.
Check aif that apply:

City State ZIP Code C) Electronically

O Paper

: Facility name and address Nature of the business operation, including type of services the {f debtor provides meals
: debtor provides and housing, number of
{ patients In debtor's care
|
{| 182.
i Facility name
| Street Location where patient records are maintained (if different from facility How are records kept?
address). If electronic, identify any service provider.
| Check all that apply:
| Gity State ZIP Code C] Electronically
| C] Paper

Personally Identifiable Information

- 46.Does the debtor collect and retain personally identifiable information of customers? N/A

Gd No.

C) Yes. State the nature of the information collected and retained.

 

Does the debtor have a privacy policy about that information?

C) No
QC] Yes

pension or profit-sharing plan made available by the debtor as an employee benefit?

Cl) No. Go to Part 10.
Yes. Does the debtor serve as plan administrator?
Ll No. Go to Part 10.

QO) Yes. Fill in below:
Name of plan

 

\ Has the plan been terminated?

GQ No
QO Yes

|
|
|
|
i
Le. ae

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other

Employer identification number of the plan
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Debtor American Green Technology. Inc Case number (it known) 18-34728

Name

 

Eu Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

| 48, Closed financial accounts

Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,

brokerage houses, cooperatives, associations, and other financial institutions.

|
|
|
|
|
|

 

 

 

 

 

 

 

 

(1 None
Financial institution name and address Last 4 digits of account Type of account Date account was Last balance
: number closed, sold, moved, before closing or
: or transferred transfer
'
; 184. 1st Source Bank XXXX-9 1 0 2 Cd checking 8/24/2018 gg «4577.35
Name CO QI savings !
! 100 N. Michigan St. 4
Street QO Money market
: C] Brokerage
, South Bend IN 46601
; City State ZIP Code C) other
; 18.2. XXXX— Q Checking _ Cg
: Name ~~ — oO .
: Savings
| Street QO Money market
| QO Brokerage
City State ZIP Code C) other

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

 

 

 

 

 

 

: G None
' '
Depository institution name and address Names of anyone with access to It Description of the contents echicened
{ QO No
| Name QO Yes

Street

Address
City State 2(P Code

 

 

|
|
|
i
{
It
!

| 20. Off-premises storage
| List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
| which the debtor does business.

 

 

 

 

 

 

 

| Ql None

Facility name and address Names of anyone with access to it Description of the contents Does debtor

still have it?

| LI No
Name QO ves
Street
|
| Address
\ City State ZIP Code
|

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Case 18-34728 Document 63 Filed in TXSB on 01/09/19 Page 16 of 22

Debtor American Green Technoloay, Inc Case number tt known), 18-34728

Name

‘Flemete Property the Debtor Holds or Controls That the Debtor Does Not Own

 

| 24, Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
i trust. Do not list leased or rented property.

 

 

 

QI None
: Owner's name and address Location of the property Description of the property Value
1
$
' Name
: Street

 

 

 

|
| City State ZIP Code
|

iFliwmpse Details About Environmental Information

 

: For the purpose of Part 12, the following definitions apply:

| & Environmental flaw means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
regardless of the medium affected (air, land, water, or any other medium).

|

a Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
formerly owned, operated, or utilized.

| 8 Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
or a similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

@ No

Q) Yes. Provide details below.

 

 

 

 

 

 

 

 

!
|
|
t Case title Court or agency name and address Nature of the case Status of case
I
| O Pending
Case number Name O onappeat
OQ) conctuded
| Street
i

City State ZIP Code

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

: Gd No

Cl Yes. Provide details below.

 

 

 

 

 

 

Site name and address Governmental unit name and address Environmental law, If known Date of notice
|
i Name Name
! Street Street

City State ZIP Code City State ZIP Code

poo oe

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 9
Debtor

‘Flemekiem Details About the Debtor's Business or Connections to Any Business

1
|
,
i

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American Green Technology, Inc

 

Name

 

24, Has the debtor notifled any governmental unit of any release of hazardous material?

No

C] Yes. Provide details below.

Site name and address

Governmental unit name and address

Case number (:f Anown),

Environmental law, if known

1B-34728

Date of notice

 

 

 

 

 

 

Name Name
Street Street
City State 21P Code City State ZIP Code

 

‘ 28, Other businesses In which the debtor has or has had an interest

List any business for which the debtor was an owner, partner, member, or atherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

@) None

25.1.

25.2.

25.3.

Business name and address

Oescribe the nature of the business

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name

Street

City State ZIP Code

Business name and address Describe the nature of the business
Name

Street

City State ZIP Code

Business name and address Describe the nature of the business
Name

Street

City State ZIP Code

Official Form 207

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

Employer Identification number
Do not include Sociai Security number or ITIN.

EIN: -

Dates business existed

From. —s—“‘é«‘iT'

Employer Identification number
Do not include Social Security number or ITIN.

Dates business existed

From To

Employer Identification number
Do not include Social Security number or ITIN.

EIN: -

Dates business existed

From To
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Debtor American Green Technology, inc

 

Name

: 26. Books, records, and financial statements

Q) None

Name and address

Case number (i known)

 

 

 

 

 

 

 

 

| 26a.1. Chuck Weiser AGT CFO
{ Name
| 52129 St. Rt. 933
| Steet
{
South Bend IN 46637
! City State ZIP Code
Name and address
| 26a.2. Jeannie Verteramo _AGT Employee
! Name
52129 St. Rt. 933

Street
South Bend IN 46637
City State ZIP Code

OQ) None

Name and address

 

 

 

 

 

 

 

 

26b.1. Crowe Horwath- Compiled 2016 records for taxes
Name
330 E Jefferson Bivd
Street
South Bend 46601
City State ZIP Code
: Name and address
| 2662. Ushio America- Inventory audit
{ Name
5440 Cerritos Ave
| Street
| Cypress 90630
City ZIP Code

18-34728

 

Dates of service

From _2013

Dates of service

From _2012

Dates of service

From 04/2017 To 10/2017

Dates of service

From 2016 _

26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

To 2018

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
statement within 2 years before filing this case.

Ta 2017

! 26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

QO) None

! Name and address

If any books of account and records are
unavailable, explain why

 

 

 

 

26.1. Chuck Weiser
Name
: 5718 Darnell St
Street
{
| Houston IX 77096
i City State ZIP Code
1
1

 

Official Form 207

 

 

 

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

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Debtor American Green Technology. inc

Name

Name and address

Jean Verteramo

Case number (i known) 18-34728

If any books of account and records are
unavailable, explain why

 

 

 

 

 

 

266.2.
Name
50783 Galaxy Dr.
Street
Granger IN 46530
City State ZIP Code

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement

within 2 years before filing this case.

C) None

Name and address

260.1. Ushio America, Inc

 

Name

5440 Cerritos Ave
Street

 

Cypress CA
City State

Name and address

260.2, Moriah Group

Name
303 Wall St.

90630
ZIP Code

 

Street

Suite 2400

 

Midland T™
City State

26d.3 Weiser Insurance/Travelers Insurance
8303 SW Freeway Houston,TX 77074

27. Inventories

79701
2iP Code

(insurance underwriters)

Have any inventories of the debtor's property been taken within 2 years before filing this case?

RN

Qd Yes. Give the details about the two most recent inventories.

Name of the person who supervised the taking of the inventory

Gordy Norquist

Name and address of the person who has possession of inventory records

Date of The dollar amount and basis (cost, market, or
inventory other basis) of each inventory

2017 $__ 2,600,000

 

 

 

 

71 Jean Verteramo
Name
50783 Galaxy Dr. Granger, IN 46530
Street
records at AGT office: 52129 St Rt 933
South Bend, IN
City State

Official Form 207

Statement of Financial Affairs for Non-Individuais Filing for Bankruptcy page 12
Debtor

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American Green Technology. Inc Case number (i known)__18-34728
Name
Name of the person who supervised the taking of the inventory Date of The dollar amount and basis (cost, market, or
Inventory other basis) of each inventory

Ushio Inventory Audit-

Hiroo 2016 g_2./ million

 

Name and address of the person who has possession of inventory records

Jean Verteramo

 

Name

50783 Galaxy Dr. Granger, In 46530

Street

2016 Inv. records at AGT office: 52129 St. Rt. 933

 

South Bend, IN 46637

 

City

State ZIP Code

28, List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other
people in control of the debtor at the time of the filing of this case.

Name

Danny Bogar
Shinji Kameda
Nolan Lehmann

Ushio America, Inc.

Address Position and nature of any
Interest

1223 Gruene Vintage New Braunfels, Tx 78130 CEO & Bd of Directors
Ushio 5440 Cerritos Ave Cypress,CA 90630 Bd of Directors
16303 Sterling Gate Spring Tx 77379 Bd of Directors

5440 Cerritos Ave Cypress, CA 90630 controlling shareholder

% of interest, if any

>50%

 

 

 

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
of the debtor, or shareholders in control of the debtor who no longer hold these positions?

No
Qd Yes. Identify below.

 

 

 

 

Name Address Position and nature of Period during which
any interest position or Interest was
held
Holger Claus Ushio Cypress California Bd of Directors From1/2016 To 1/2018
Hiroo Kasahara Ushio Cypress California Bad of Directors From 4/201879 8/2018
Chuck Weiser CPA 5718 Darnell St Houston, TX 77096 AGT CFO From 2013 To 9/2018

 

 

Gordy Norquist

17800 Dorset Dr South Bend, IN 46635 AGT EVP sales&oper. From 2009 To 7/2018

 

' 30. Payments, distributions, or withdrawals credited or given to insiders

Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
bonuses, loans, credits on loans, stock redemptions, and options exercised?

1 No
( Yes. Identify below.

!
|
|
|
|
I

Official Form 207

30.1

 

 

 

 

 

 

 

Name and address of recipient Amount of money or Dates Reason for
description and value of providing the value
property

Danny Bogar $52,923.15 10/1/17-10/2/18 _Emp Comp

Neme

1223 Gruene Vintage
Street
New Braunfels TX 78130
City State ZIP Code
Relationship to debtor
active employee/CEO Board Member
- Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 13
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Debtor American Green Technoloay. inc Case number «tanown___ 18-347 28

Name

 

tr See TR eke fe Sandee tmp me ekonomi a mme mama 5 ee mma nme ey rin peve mm id ech neh nena a Gene ie! in anin ene ld cme eS ae

Name and address of recipient

 

30.2

 

 

Street

 

 

Cay State ZIP Code

Relationship to debtor

 

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
& No
Q) Yes. identify below.

Name of the parent corporation Employer Identification number of the parent
corporation

 

' 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
| No
C1 Yes. Identify below.

Name of the pension fund Employer Identification number of the pension fund
EIN: =

fronts: and Deciaration

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing preperty, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

| have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
is true and correct.

i | declare under penalty of perjury that the foregoing is tree and correct.

Executed on C/ / 08 f AU G

i MM 7 DD PAYYYY

x (L2

Signature of individual signing o alf of the debtor
President & CEO

  
 

Danny Bogar

Printed name

 

Position or relationship to d

 

Are additional pages to Statement of Financial Affairs for Non-individuals Filing for Bankruptcy (Official Form 207) attached?
Q No
_ & Yes i

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Debtor: American Green Technology, Inc Case Number: 18-34728

Supplemental Pages: Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

 

Part3: Legal Actions or Assignments

7.3, Microchem Laboratory,LLC vs American Green Technology, Inc
NO. IJC-18-1109

Nature: Civil Citation vendor past due balance $5100
Small Claims Case

Court: Justice of the Peace Precinct 1 Williamson County Texas
1801 E. Old Settlers Blvd Suite 100
Round Rock, TX 78664

7.4 Mississippi Department of Revenue taxing authority vs American Green
Technology, Inc

Nature: Business Lien for delinquent 2016 Corp & Franchise Tax &fees
$16,254.96

Court: Coahoma County Courthouse
Mississippi Dept of Revenue
P.O. Box 23075
Jackson, MS 39225-3075

7.5 Industrial Automation Controls,inc dba IAC dba IAC Supply Solutions
-vs- American Green Technology, Inc

Case #:49D07-1804-CC-013508
Nature: Summons received for delinquent debt $5,751.58

Court: Marion Superior Court Marion County Indiana
200 E. Washington St. Indianapolis, In 46204
Rubin & Levin Attorneys
